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8
                                UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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     ROBERTO GONZALES,                            Case No. 2:21-CV-9960-MWF (LAL)
12
                         Petitioner,              JUDGMENT
13
14                  v.
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     BRIAN KIBLER, Warden,
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                         Respondent.
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            Pursuant to the Order Accepting Report and Recommendation of United States
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     Magistrate Judge,
21
            IT IS ADJUDGED that the Petition is DENIED and this action is dismissed with
22
     prejudice.
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24
     Dated: September 30, 2022                 ________________________________________
25                                             MICHAEL W. FITZGERALD
26                                             United States District Judge

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